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15                            FOR THE DISTRICT OF ARIZONA
16
17   United States of America,                                CR-18-422-PHX-SMB

18                        Plaintiff,                   UNITED STATES’ RESPONSE TO
                                                        MOTION TO COMPEL BRADY
19            v.                                                [Doc. 777]

20   Michael Lacey, et al.,
21                        Defendants.
22
23                                      INTRODUCTION
24         On August 19, 2019, the Court expressly “prohibit[ed] the parties from filing any
25   further motions to compel or motions for discovery until the parties contact the Court to
26   discuss.” (Doc. 728 at 2.) Inexplicably, Defendants have now filed a “Motion to Compel
27   Production of Brady Material” in violation of the Court’s Order. (Cf. Doc. 777.) A large
28   portion of the motion seeks nearly 30 categories of materials Defendants requested in
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 1   October 2018. (See Doc. 777-1.) The United States responded at length to Defendants’
 2   request in November 2018. (See Exhibit B, attached hereto.) Without engaging in any
 3   meaningful follow-up in the ensuing 12 months, Defendants simply filed the instant
 4   motion. The motion is procedurally improper and should be denied.
 5            Even if considered on the merits, Defendants’ motion is divorced from the actual
 6   facts in this case. In the nearly 20 months since indictment, the government has taken
 7   numerous steps to provide Defendants robust discovery and has made early and broad
 8   disclosures that well exceed its criminal disclosure and discovery obligations under Rule
 9   16, Brady, and the Jencks Act. Notwithstanding these efforts, Defendants seek to transform
10   the government’s liberality into a far reaching fishing expedition by demanding categories
11   of documents that: (1) Defendants already have—thereby disregarding the Court’s October
12   15, 2018 Order (Doc. 339) denying Defendants’ request that the government cull through
13   discovery to find and itemize material potentially helpful to their defense; (2) the
14   government has stipulated it would turn over if it comes across in the future; (3) are
15   irrelevant and to which they are not entitled under even the most expansive reading of Rule
16   16 and Brady; (4) the government does not possess; or (5) do not exist. Defendants’
17   discovery demands are vague, vastly overbroad (entirely lacking in temporal limitations),
18   and premised on false assumptions. Defendants’ motion should be denied.1
19   I.       DEFENDANTS’ ATTEMPT TO SEEK DISCOVERY FAR OUTSIDE THE
              BOUNDS OF RULE 16 AND BRADY SHOULD BE REJECTED.
20
21            Defendants’ assertion that they requested dozens of categories of Brady evidence
22   from the government, and “the government has not, yet, disclosed this evidence or stated
23   that it has searched for such evidence but was unable to locate evidence subject to the
24   requests” is inaccurate and misleading. (Mot. at 9-10.) To start, on November 16, 2018—
25   more than a year ago—the government responded to Defendants’ request for
26   approximately 30 categories of materials they deemed Brady. (Exhibit B.) In this letter,
27
28
     1
      When this Response refers to “Brady” or “Brady material,” the government is including
     Giglio, Henthorn and all information required by Brady and its progeny.

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 1   the government clearly articulated why it disagreed with Defendants’ characterization of
 2   these materials as Brady. (Exhibit B.) Before this, on October 15, 2018, the Court denied
 3   Defendants’ demand that the government itemize all Brady materials contained in the
 4   government’s disclosures and discovery. (Doc. 339 at 4-6.) More recently, on August 19,
 5   2019, the Court ordered the parties to refrain from filing further discovery motions without
 6   first contacting the Court. (Doc. 728 at 2; see also Doc. 732, 8/19/19 Hr’g Tr. at 93 (Judge
 7   Brnovich: “I am entering an order that there be no further motions to compel or other
 8   discovery motions unless and until you contact the court…”).) Defendants are now
 9   attempting to re-litigate the October 15, 2018 Order—and in so doing, they’ve violated the
10   August 19, 2019 Order. Defendants offer no justification for overriding the Court’s Orders
11   or obtaining other relief.
12          Much of Defendants’ motion—including their assertion that “the government must
13   promptly disclosure all exculpatory and/or impeaching material in its possession, custody
14   or control”—simply rehashes the government’s Brady obligations (of which the
15   government is well-aware). (Mot. at 5; see also Doc. 339 at 5-6.) To the extent Defendants
16   seek an order compelling the government to disclose any particular materials, Defendants
17   have fallen far short of meeting their burden for obtaining relief.
18          As the Ninth Circuit has recognized, to “challenge the government’s representation
19   that it lacks Brady information, [a defendant] must either make a showing of materiality
20   under Rule 16 or otherwise demonstrate that the government improperly withheld
21   favorable evidence.” United States v. Lucas, 841 F.3d 796, 808 (9th Cir. 2016). The test
22   for materiality is whether the requested evidence might affect the outcome of the trial.
23   United States v. Alvarez, 358 F.3d 1194, 1211-12 (9th Cir. 2004). Moreover, the Ninth
24   Circuit has rejected the premise that a defendant may compel production of notes so that
25   he could search through them for anything useful. United States v. Mincoff, 574 F.3d 1186,
26   1200 (9th Cir. 2009) (“Mere speculation about materials in the governments’ files’ [does]
27   not require the district court to make those materials available, or mandate an in camera
28   inspection.”); see also see also Kyles v. Whitley, 514 U.S. 419, 433 (1995) (“We never held


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 1   that the Constitution demands an open file policy…”) (citing United States v. Agurs, 427
 2   U.S. 97, 108 (1976)); United States v. Michaels, 796 F.2d 1112, 1116 (9th Cir. 1986)
 3   (“Brady does not “provide defense counsel with unlimited discovery of everything known
 4   by a prosecutor.”).
 5            Here, Defendants have neither shown materiality under Rule 16 nor demonstrated
 6   that the government has withheld favorable evidence. Defendants simply assert “the
 7   government must make broad disclosures under Brady” in hopes of landing some “new
 8   evidence” that might support their assertion that the government has failed to disclose
 9   impeachment and/or exculpatory evidence. (Mot. at 4.) However, the limited discovery
10   in criminal cases does not allow for such fishing expeditions, and “defendants cannot use
11   Brady simply to search for Brady materials. Brady is not a pretrial tool discovery tool.”
12   United States v. Weld, 2009 WL 901871, at *2 (N.D. Cal. Apr. 1, 2009).
13            That said, the government notes its specific responses to Defendants’ approximately
14   30 categories of requests (Doc. 777, Mot. at 10-13) in Exhibit A to this Response.2 For the
15   general reasons set forth above, and the specific reasons set forth in Exhibit A, Defendants’
16   requests should be denied.
17   II.      NCMEC AND CALIFORNIA AND TEXAS ATTORNEY GENERALS’
              OFFICES DO NOT FUNCTION AS ARMS OF THE GOVERNMENT.
18
              A.     NCMEC Is a Private Non-Profit Organization.
19
20            It is black-letter law that private actors cannot “act[ ] on the government’s behalf”
     for purposes of the government’s Brady obligations. See, e.g., United States v. Josleyn,
21
     206 F.3d 144, 153-54 (1st Cir. 2000) (“While prosecutors may be held accountable for
22
     information known to police investigators, we are loath to extend the analogy from police
23
     investigators to cooperating private parties who have their own set of interest”) (citing
24
     Kyles, 514 U.S. at 437-38); Sleeper v. Spencer, 453 F. Supp. 2d 204 (D. Mass. 2006)
25
26
27   2
       The government provides Exhibit A to comply with LRCiv 37.1 that require the parties
28   set forth the discovery categories at issue in a document separate from a memorandum of
     law.

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 1   (“Petitioner cites no well-established law to show that a private vendor, no matter how
     much business he conducts with the state, is a member of the prosecution team to whom a
 2
     duty to disclose extends.”); United States v. Zinnel, 2011 WL 6825684, at *2 (E.D. Cal.
 3
     Dec. 28, 2011) (“a private trustee is simply not a governmental agent, or member of the
 4
     prosecution team, so as to create any further duty in that regard”); United States v.
 5
     Tomasaetta, 2012 WL 896152, at *4 (S.D.N.Y. Mar. 16, 2012) (“Documents in the hands
 6
     of cooperating third parties are not attributable to the Government.”); United States v.
 7
     Gray, 731 F. Supp. 2d 810, 822 (N.D. Ind. 2010) (the private vendor providing data storage
 8
     for state Medicaid agency likely “would not be considered part of the prosecution team
 9
     since it is not a government agency but a third-party source to the government.”). At least
10
     two circuits have held that “the availability of information is not measured in terms of
11
     whether the information is easy or difficult to obtain but by whether the information is in
12
     the possession of some arm of the state.” See United States v. Perdomo, 929 F.2d 967, 971
13
     (3d Cir. 1991); see also Crivens v. Roth, 172 F.3d 991, 997-98 (7th Cir. 1999).
14
            Despite the plethora of law holding that private parties are not agents of the
15
     government, Defendants assert the government “must seek and disclose any Brady material
16
     in the possession of NCMEC” because “it is well-settled that NCMEC”—a private non-
17
     profit entity—“is an agent of the government.” (Mot. at 15.) In support, Defendants cite
18
     four inapposite cases: United States v. Ackerman, 831 F.3d 1292 (10th Cir. 2016); United
19   States v. Cameron, 699 F.3d 621 (1st Cir. 2012); United States v. Keith, 980 F.Supp.2d 33
20   (D. Mass. 2013); and United States v. Coyne, 2018 WL 8667649 (D. Vt. Apr. 10, 2018).
21          In Ackerman, the court examined whether NCMEC was a government entity or
22   agent in determining whether a search it performed violated the Fourth Amendment. 831
23   F.3d at 1295-1297, 1301. The court held that NCMEC acted as a government entity—or a
24   government agent at a minimum—through its maintenance of the CyberTipline, its review
25   of material sent to the CyberTipline, and its reporting of contraband images to law
26   enforcement. Id. at 1296-1304. In Keith, the court similarly found that NCMEC “act[ed]
27   effectively as an agent of the government” when it examined a “file uploaded by AOL to
28   the NCMEC CyberTipline.” 980 F.Supp.2d at 41. In Cameron, the court observed that


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 1   “NCMEC is not officially a government entity,” but nevertheless concluded that “in the
     context of the Sixth Amendment Confrontation Clause, NCMEC effectively acted as an
 2
     agent of law enforcement” because it received a government grant to accept child
 3
     pornography reports and forward them to law enforcement. 699 F.3d at 644-45.
 4
            In Coyne, although the court viewed NCMEC as an agent of law enforcement for
 5
     Fourth Amendment purposes regarding its searches of electronic communications, the
 6
     court rejected the defendant’s argument that NCMEC is a governmental entity. Coyne,
 7
     2018 WL 8667649 at 399. The court held: “NCMEC is not a governmental entity. It was
 8
     formed as a private not-for-profit corporation. It is governed by a board of directors that
 9
     does not include any governmental representations among its voting members. For
10
     purposes of governance, it continues to operate as a non-profit.” Id. The court observed
11
     that “like many non-profits, NCMEC receives funding both from governmental grants and
12
     from private fundraising” and that “NCMEC performs a range of functions related to the
13
     protection of children.” Id. The court also recognized that “from [NCMEC’s] founding
14
     following the death of Adam Walsh, NCMEC has been very clear about its purpose, which
15
     has been to protect children from abuse, including sexual abuse.” Id. at 398. The court
16
     concluded by noting that “law enforcement shares this purpose, but there is no evidence
17
     that NCMEC is controlled by federal or state law enforcement agencies. NCMEC performs
18
     its clearinghouse function without governmental supervision.” Id.
19          Despite the courts’ analyses in Ackerman, Cameron, Keith, and Coyne being limited
20   to Fourth and Sixth Amendment inquiries, Defendants suggest, without support, that the
21   Court should engage in an expansive reading of these decisions that would generally bring
22   NCMEC into the fold as an arm of the government for purposes of Brady. Even a cursory
23   reading of these cases fails to support this theory—which no court has endorsed. Critically,
24   these cases are all predicated on the same fact: that NCMEC reviewed private information
25   contained in a CyberTip. Defendants make no allegation that NCMEC performed any
26   similar function in connection with the Superseding Indictment in this case.
27          Further, the CyberTipline statutes were amended in response to Ackerman. See The
28   CyberTipline Modernization Act of 2018, Pub. L. No. 115-395, 132 Stat. 5287 (Dec. 21,


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 1   2018). This legislation revised 18 U.S.C. §§ 2258A-2258E to make clear that NCMEC
     serves a “clearinghouse role as a private, nonprofit organization,” and that any review it
 2
     conducts of CyberTips is “in furtherance of its nonprofit mission.” 18 U.S.C. § 2258A(c).
 3
     See also 18 U.S.C. § 2258D(a) (referencing NCMEC’s “clearinghouse role as a private,
 4
     nonprofit organization and its mission to help find missing children, reduce online sexual
 5
     exploitation of children and prevent future victimization.”). The CyberTipline is operated
 6
     to “reduce the proliferation of online child sexual exploitation and to prevent the online
 7
     sexual exploitation of children.”   Id. at Section 2258A(a)(1)(A). See also 18 U.S.C.
 8
     § 2258(b) (information is reported in a CyberTip in “an effort to prevent the future sexual
 9
     victimization of children”).
10
            Likewise, 34 U.S.C. §§ 11291 and 11293(b), the statutes that set forth NCMEC’s
11
     duties and responsibilities, were also amended following Ackerman. See The Missing
12
     Children’s Assistance Act, Pub. L. No. 115-267, § 2, 132 Stat. 3757-3760 (Oct. 11, 2018).
13
     These statutory changes emphasize NCMEC’s mission as a non-profit organization, and
14
     highlight its work with those outside law enforcement.
15
            Defendants’ reliance on United States v. Rosenschein, 2019 WL 2298810 (D.N.M.
16
     May 30, 2019), is likewise misplaced. (Mot. at 16.) In Rosenschein, law enforcement
17
     began investigating the defendant when they received two CyberTipline Reports from
18
     NCMEC generated by electronic service provider ChatStep. Id. at 1. NCMEC used the
19   IP address information submitted by ChatStep to investigate the probable physical location
20   of the defendant, and forwarded that information to law enforcement. Id. The defendant
21   argued that under Rule 16 and Brady, he was entitled to discovery from NCMEC. Id. at 2.
22   He further argued that under Ackerman, NCMEC is a federal law enforcement agency that
23   participated in his case, making it subject to Rule 16 because NCMEC “qualifies as a
24   governmental entity.” Id. The government argued that the defendant’s assertion was
25   premised on an unjustifiably expansive reading of Ackerman and that NCMEC was not
26   part of the prosecution team. Id.
27          The court first acknowledged that whether NCMEC is a member of the prosecution
28   team after forwarding a CyberTipline Report to law enforcement was a question of first


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 1   impression. Id. at 5. The court then rejected the defendants’ Ackerman argument—
     concluding, that, just because the Tenth Circuit has concluded that NCMEC is a
 2
     governmental entity or agent for purposes of the Fourth Amendment analysis does not
 3
     mean that it is part of the prosecution team for discovery purposes in a particular case. Id.
 4
     at 6. Nevertheless, the court ultimately found that NCMEC was a part of the prosecution
 5
     team for discovery purposes because NCMEC conducted, as it is charged to do by statute,
 6
     a limited investigation to identify the location of the suspected internet user through the IP
 7
     address provided in the CyberTipline report and then provided that information to law
 8
     enforcement. Id. at 7. The court noted that NCMEC’s acts of investigating the location
 9
     and providing CyberTipline information to the geographically appropriate law
10
     enforcement agency effectively commenced the prosecution of the case.3 Id.
11
              Unlike in Rosenschein, Defendants here don’t contend that any meetings between
12
     NCMEC’s former President, Ernie Allen, and the government regarding Backpage at least
13
     six years prior to indictment commenced the prosecution of this case. (Mot. at 16-17.)
14
     Further, only four paragraphs in the 92-page, 100-count, 211 paragraph, Superseding
15
     Indictment even mention NCMEC. (Doc. 230 at ¶¶ 89, 97, 134, 140.) These allegations
16
     concern historical facts about NCMEC’s repeated and ultimately futile attempts to
17
     persuade Backpage’s executives to adopt safeguards aimed at combatting sex trafficking
18
     on Backpage; they do not involve the government investigation that culminated in
19   Defendants’ indictment here.
20            Defendants’ assertions that because NCMEC produced documents to the
21   government in response to a letter request rather than a grand jury subpoena and the fact
22   that the government has identified NCMEC employees on its witness list makes NCMEC
23   an arm of the government is unsupported and baseless. (Mot. at 17.) In fact, the
24   aforementioned actions further support the government’s argument that NCMEC is a
25   private organization, not a government entity. The government has made similar requests
26
27   3
       On July 3, 2019, the United States filed a motion to reconsider the court’s order granting
28   the defendant’s motion to compel the government produce NCMEC materials in
     Rosenschein. That motion remains pending.

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 1   for materials to public and private entities over the course of its investigation, and has
     identified employees of these entities as potential witnesses on its witness list. That does
 2
     not make each of these entities an arm of the government.
 3
            B.     Defendants Should Issue Rule 17(c) Subpoenas to NCMEC for Any
 4
                   Records in NCMEC’s Possession They Deem Brady.
 5
            Defendants should seek out any materials they deem impeaching or exculpatory
 6
     from NCMEC through the issuance of a Federal Rule of Criminal Procedure 17(c)
 7   subpoena. A defendant’s compulsion power under Rule 17(c) is just as powerful as that of
 8   the government. United States v. Bartko, 2011 WL 2471556, at *4 (E.D.N.C. June 21,
 9   2011) (“the government had no obligation to assist the defendant or to subpoena records
10   from the firm”). Further, courts have consistently held that when a defendant has enough
11   information to be able to ascertain the supposed Brady material on his own, there is no
12   suppression by the government. United States v. Aichele, 941 F.2d 761, 764 (9th Cir.
13   1991); United States v. Dupuy, 760 F.2d 1492, 1501 n.5 (9th Cir. 1985) (citing United
14   States v. Griggs, 713 F.2d 672, 674 (11th Cir. 1983)); United States v. Hall, 434 F.3d 42,
15   55 (1st Cir. 2006) (“Brady [does not] require[ ] a prosecutor to seek out and disclose
16   exculpatory or impeaching material not in the government’s possession.”); United States
17   v. Todd, 424 F.3d 525, 534 (7th Cir. 2005) (finding no Brady violation where, in part,
18   defendant was aware of potentially exculpatory records and failed to subpoena them);
19   United States v. Celestin, 612 F.3d 14, 22-23 (1st Cir. 2010); Spirko v. Mitchell, 368 F.3d
20   603, 610 (6th Cir. 2004) (“There is no Brady violation where a defendant knew or should
21   have known the essential facts permitting him to take advantage of any exculpatory
22   information, or where the evidence is available … from another source, because in such
23   cases there is really nothing for the government to disclose.”); McLean v. Romanowski,

24   2014 WL 3870830, at *14 (E.D. Mich. 2014) (“The evidence petitioner claims was

25   suppressed consisted of third-party business records, equally available to petitioner by

26   subpoena, and of which he was equally aware because they involved transactions with

27   which he was directly involved. Because these third-party business records were known

28   to petitioner and could have been discovered through the exercise of reasonable diligence,


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 1   they were not suppressed within the meaning of Brady.”) (citing Cunningham v. Wong,
     704 F.3d 1143, 1154 (9th Cir. 2013)).
 2
            Based on the categories of supposed Brady material Defendants are demanding that
 3
     the government obtain from NCMEC, it is evident that Defendants have enough
 4
     information on their own to ascertain that these materials are supposedly exculpatory.
 5
     (Mot. at 9, 11.) Moreover, at the October 24, 2019 evidentiary hearing, the government
 6
     suggested Defendants request such records directly from NCMEC via Rule 17 subpoena.
 7
     (Doc. 800, 10/25/19 Hr’g Tr. at 364-65 (Mr. Rapp: “Now, with respect to NCMEC, there
 8
     has been quite a bit of testimony about the fact that the defense desperately would like to
 9
     find the NCMEC referrals that are contained on the Website, correct?” … Mr. Robinson:
10
     “Correct.” Mr. Rapp: “And you know, from your investigation, that NCMEC catalogs
11
     every referral to their cyber tip line, correct?” Mr. Robinson: “Yes.” Mr. Rapp: “And so
12
     if you really wanted to find the referrals to NCMEC, you would just simply take a subpoena
13
     and go to NCMEC and they would provide you every referral that Backpage has made
14
     since 2004, right?” Mr. Robinson: “That’s what I would…”).) The bottom line is the
15
     government has produced all documents in its possession from NCMEC. Defendants
16
     should request any additional NCMEC records they seek directly from NCMEC.
17
            C.     The California and Texas Attorney Generals’ Offices Are Not Arms of
18                 the Government in This Case.
19          For obvious practical reasons, not every governmental agency can be considered as
20   part of the “government” for discovery purposes. Aichele, 941 F.2d at 764 (finding that any
21   materials which are in the possession of various state agencies are generally not in the
22   government’s actual possession, custody or control, and therefore they need not be
23   disclosed); see also United States v. Gatto, 763 F.2d 1040 (9th Cir. 1985) (under Rule

24   16(a)(1)(C), the government’s disclosure obligation is triggered only with respect to

25   documents within the government’s actual possession, custody or control); United States

26   v. Chavez–Vernaza, 844 F.2d 1368, 1377 (9th Cir. 1987) (following Gatto in concluding

27   that documents in the possession of state officials are not within the custody or control of

28   the federal government which has the duty to obtain them); United States v. Trevino, 556


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 1   F.2d 1265 (5th Cir. 1977); United States v. Bender, 304 F.3d 161, 163-164 (1st Cir. 2002).
     Usually, documents within the possession of a federal court or probation officer, a state
 2
     court, local law enforcement officers, or other state authorities are not considered to be
 3
     within the possession of the government. United States v. Brazel, 102 F.3d 1120, 1150
 4
     (11th Cir. 1997). The government, for instance, has only been ordered to disclose material
 5
     possessed by state investigators when federal and state authorities pooled their
 6
     investigative energies to considerable extent or the state investigators functioned as agents
 7
     of the federal government under the principles of agency law. United States v. Naranjo,
 8
     634 F.3d 1198, 1212 (11th Cir. 2011). But where separate investigative teams do not
 9
     collaborate extensively, knowledge of information of other investigative teams is not
10
     imputed to federal investigators for Brady purposes. United States v. Cadden, 2015 WL
11
     5737144, at *2 (D. Mass. Sept. 30, 2015) (“I agree with the Magistrate Judge’s analysis of
12
     what constitutes the “prosecution team” with respect to the government’s duty to produce
13
     discoverable information, including Brady material, and her conclusion that “[m]aterials
14
     in the possession of state agencies are generally not in the [federal] government’s
15
     possession, custody, or control”).
16
            In United States v. Wilmington Trust Corp., 2016 WL 3749860, at *3 (D. Del. July
17
     11, 2016), prior to the United States Attorney’s Office (“USAO”) opening an investigation,
18
     the Securities and Exchange Commission (“SEC”) had previously opened its own
19   investigation into Defendants. Id. at *1. After learning of this parallel investigation, the
20   USAO sought and received documents from the SEC that had previously been subpoenaed
21   by the SEC from the defendant and third parties. Id. The SEC later participated with the
22   USAO in approximately 29 of the more than 300 witness interviews conducted in
23   connection with the USAO’s case. Id. The government produced to the defendants all the
24   documents it received from the SEC and agreed to review and produce any exculpatory
25   information contained in the notes or reports of any jointly conducted interviews. Id. With
26   regard to government’s Brady obligations, the defendants argued that the USAO
27   constructively possessed and was required to seek out and produce documents held by the
28   SEC. Id. at *3. In rejecting the defendants’ argument, the court first noted that the


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 1   defendants presented no requests for specific pieces or types of evidence with which to
     assess their Brady claims. Id. The court went on to find that to broadly declare that the
 2
     USAO is in constructive possession of documents held by other investigating agencies
 3
     would amplify the USAO’s discovery obligations beyond what is required, especially in a
 4
     case of this scope and complexity. Id. at *4. The court held that the USAO should only
 5
     be charged with constructive possession of documents and information that reflect any joint
 6
     efforts it actually undertook with other agencies. Id.
 7
            Despite the circuit courts and district courts that have considered similar requests
 8
     holding that materials in possession of various state agencies are not in the federal
 9
     government’s actual possession, custody or control, Defendants contend, without support,
10
     that the government is obliged to produce any evidence in the possession of California and
11
     Texas Attorney Generals’ Offices because of a press release mentioning these offices as
12
     providing “significant support” in the seizure of Backpage. (Mot. at 17.)       Defendants,
13
     however, cite no facts that support these separate state agencies pooling their investigative
14
     energies to a considerable extent or where state investigators have functioned as agents of
15
     the federal government in this case. Also, like in Wilmington, the government in this case
16
     has produced and will continue to produce to Defendants any and all documents it has
17
     received from the Attorney Generals’ Offices for the States of California and Texas in
18
     accordance with its obligations under Rule 16. What is more, here, the government went
19   a step further than the government in Wilmington. In Wilmington, the government agreed
20   to review and produce any exculpatory information contained in the notes or reports of any
21   jointly conducted interviews. 2016 WL 3749860, at *1. Here, the government has
22   produced all factual statements (reports of interviews) from the few interviews it has
23   conducted with the Attorney Generals’ Offices for California and Texas.4
24
25
     4
       Similar to the court’s comment in Wilmington, the government notes that Defendants in
26
     this case make no requests for specific pieces or types of Brady evidence from the Attorney
27   Generals’ Offices for the States of California and Texas, providing further support that
     their request is nothing more than an attempt to use Brady as a pretrial discovery tool in
28   hopes of finding some materials helpful to their case.

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 1                                        CONCLUSION
            For the foregoing reasons, the Motion to Compel Brady (Doc. 777) should be
 2
     denied.
 3
            Respectfully submitted this 27th day of November, 2019.
 4
 5
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18
                                 CERTIFICATE OF SERVICE
19
20          I hereby certify that on November 27, 2019, I electronically transmitted the attached
21   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
22   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
23   as counsel of record.
24
     s/ Angela Schuetta
25   Angela Schuetta
     U.S. Attorney’s Office
26
27
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